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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 19-CV-23993-SCOLA/TORRES

  NANCY ANDREUS,

           Plaintiff,
  vs.

  GLOBAL RESORTS GROUP, CORP.,
  d/b/a EL PARASIO MOTEL,

        Defendant.
  _________________________________/

            DEFENDANT’S AMENDED1 MOTION TO SET ASIDE MEDIATED
          SETTLEMENT AGREEMENT BASED ON FRAUD AND DEFENDANT’S
         REQUEST FOR AN EVIDENTIARY HEARING INTO PLAINTIFF’S FRAUD

           Defendant files this Amended Motion to Set Aside Mediated Settlement Agreement

  Based on Fraud and Request for Evidentiary Hearing Into Plaintiff’s Fraud and would state:

           1.       On Friday January 31, 2020, this past Friday, the parties met for a Court ordered

  Mediation in this FLSA overtime claim. At the mediation, Plaintiff produced three TD Bank

  statements in response to pending discovery requests from Defendant.

           2.       The three bank statements were a proverbial bombshell as they purportedly showed

  that Defendant's careful, detailed and seemingly accurate records regarding Plaintiff's dates of

  employment, pay received and number of hours worked, were wrong. Up until the time Plaintiff

  handed over these three TD Bank statements2 there was absolutely no documentary or witness

  evidence to support Plaintiff's claim. The sole evidence supporting Plaintiff's claim, was Plaintiff's


  1 This motion is virtually identical to the original motion except that it contains the additional efforts undertaken by
  counsel to satisfy the required Local Rule 7.1(a)(3) good faith efforts, changes references to ‘yesterday’ with dates,
  and acknowledges the Plaintiff’s counsel’s Motion to Withdraw [DE 36] that was filed after the original motion.
  2 On January 29, 2020, just two days before the mediation, Plaintiff belatedly and inadequately responded to
  Defendant’s initial Interrogatories and Requests for Production. Plaintiff failed to produce so much as a single
  document in response to Defendant’s Initial Request for Production.
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  bald assertions of overtime work that were flatly contradicted by signed time cards and payroll

  records that showed proper payment for all hours on the signed timecards.

         3.      Defendant, shaken by this apparent proof that their records were unreliable, was

  induced into resolving the claim at Mediation. Accordingly, a Mediated Settlement Agreement

  was signed. Shortly after the mediation, Defendant’s Corporate Representative was able to obtain

  information that revealed irregularities with the TD Bank statements and immediately alerted the

  undersigned. The undersigned, upon arriving home, checked the bank statements and, in light of

  the information obtained, was able to verify that the bank statements were fraudulent. It became

  clear the statements were a cut and paste job intended to defraud Defendant at mediation.

         4.      Attached as Composite Exhibit A are the three TD Bank Statements provided by

  Plaintiff. Each of the three TD Bank statements purports to reflect a time period in 2018. It is

  clear the top section of each statement is from a real 2018 TD Bank statement, which was cut and

  pasted over a real 2019 TD Bank statement to make it appear that the itemized transactions were

  from 2018, not 2019. At this point, it is important to explain the reason why Plaintiff went to the

  trouble of meticulously and cleverly constructing these forged documents.

         5.      Plaintiff’s Complaint alleged that Plaintiff was employed with Defendant from

  January 1, 2018 through August 9, 2019:

         Defendant EL PARAISO MOTEL employed Plaintiff NANCY
         ANDREUS as a non-exempt, hourly, full-time housekeeper
         from approximately January 01, 2018 to August 9, 2019, or
         83 weeks.

         Paragraph 7 of Plaintiff’s Complaint [DE1]

         In deposition, Plaintiff revised her claim regarding when she worked for Defendant and

  testified under oath that she worked from March 12, 2018 to September 22, 2018, left

  Defendant’s employ and then returned to work with Defendant from February 2, 2019 through
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  August 9, 2019.

         17 Q. From what date to what date?
         18 A. I started working March 12th, 2018.
         19 Q. And when did you stop?
         20 A. September 22nd, 2018.
         Page 7
         25 Q. Did you go back to work there at another
         1 period of time?
         2 A. Yes, then I went back in February.
         3 Q. Of what year?
         4 A. 2019.
         5 Q. Do you know what day in February of 2019 you
         6 went back to work at El Parasio Hotel?
         7 A. February 2nd.
         8 Q. And until when did you work at El Parasio
         9 Hotel in 2019?
         10 A. August 9th, 2019.
         Pages 7-8

         Plaintiff’s Deposition dated December 11, 2019.

         6.     Plaintiff’s sworn deposition testimony regarding when she worked in 2018 did not

  correlate to Defendant’s timecards or payroll records. Defendant’s records showed that Plaintiff

  worked until May 30, 2018, NOT September 22, 2018. At the deposition, the undersigned

  pressed Plaintiff as to what documents would show when she worked for Defendant. In response,

  Plaintiff testified she had bank statements that proved what dates she worked for Defendant:

         22 I want to know if you have any documents,
         23 checks, e-mails, texts, photos, papers, that would show
         24 us exactly when you started and when you left both in
         25 2018 and 2019. Do you understand what I'm asking?
         Page 68
         1 A. I have some checks that I have given to my
         2 attorney. And I have photographs from some coworkers
         3 when we had a birthday party once there at El Parasio.
         4 Q. Anything else?
         5 A. I think I have statements. I can look for
         6 them.
         7 Q. What kind of statements?
         8 A. Bank statements.
         9 Q. Anything else?
         10 A. No.
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         11 Q. Just to recap to make sure that I'm clear
         12 about it. I was asking -- I wanted to know if you have
         13 any documents that would help us see when exactly you
         14 started in 2018 and exactly when you left in 2018 and
         the
         15 same for 2019. And you've -- and you've told us you have
         16 checks that you gave to your attorney, some photos from
         17 coworkers at a birthday party that was at the hotel --
         18 A. Correct, correct.
         19 Q. -- and some bank statements that would show
         20 deposits from getting paid at the hotel.
         21 A. Correct.
         Page 69

         Plaintiff’s Deposition dated December 11, 2019.

         7.     On January 29, 2020 Plaintiff belatedly responded to Defendant’s November 26,

  2019 Initial Requests for Production. Defendant’s Request for Production number 6 requested

  documents that showed the dates Plaintiff worked for Defendant. Despite the fact that Plaintiff

  testified earlier in deposition that she had bank statements which showed when she worked, her

  responses to discovery failed to reference or produce these bank statements.       Request for

  Production number 6 and the response are as follows:

         REQUEST:
         All documents that support Plaintiff’s claim of the dates
         she worked for Defendant.

         ANSWER:
         The documents sought in this request are not in Plaintiff’s
         possession, custody, or control. These documents are in
         Defendant’s possession, custody, or control.

        Plaintiff’s January 29, 2019 Response to Request for Production, response to request
  number 6.

         8.     Plaintiff’s January 29, 2020 Response to Request for Production also sought any

  documentary proof that would show Defendant’s time or payroll records were inaccurate:

         REQUEST:
         All documentary proof that support Plaintiff’s allegation
         that Defendant failed to pay Plaintiff properly (such as
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         not paying for hours worked, not paying overtime,
         inaccurate time records, errors of payment, errors on
         payment related documents).

         ANSWER:
         None.

         Plaintiff’s January 29, 2019 Response to Request for Production, response to request

  number 5.

         9.      Based on the Plaintiff’s deposition and Plaintiff’s subsequent responses to

  discovery, Defendant went into the Friday January 31, 2020 Mediation knowing that Plaintiff had

  absolutely no proof to support her claims. By contrast, Defendant had produced to Plaintiff

  signed time cards for every day Plaintiff worked and detailed payroll records that showed Plaintiff

  was properly paid for every hour she worked.

         10.     Plaintiff’s production at mediation of the 3 TD Bank statements appeared to

  completely contradict Defendant’s records thereby breathing life into Plaintiff’s all but dead claim.

  If Plaintiff’s TD Bank records were accurate, it showed Plaintiff was paid by Defendant through

  September 2018 and not the date Defendant asserted and Defendant’s records showed. If the

  records produced by Plaintiff were accurate, that would mean there were at least three full months

  Plaintiff worked for Defendant where Defendant could not produce any timecards. Worse yet, if

  Plaintiff’s bank statements were accurate, the detailed payroll records produced by Defendant

  could no longer be trusted as they did NOT show payment to Plaintiff for the July 2018 and August

  2018 payments that Plaintiff’s bank statements appeared to show. Rocked by the surprise

  ‘evidence’ Defendant was induced into signing the mediated settlement agreement.

         11.     After some research and corroboration, there is zero doubt the documents produced

  by Plaintiff are a clever forgery.     By correlating the statements produced/manufactured by

  Plaintiff with Defendant’s real 2019 payroll records it is clear that the three payments reflected in
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  the 3 attached TD Bank statements [$578.21 on May 3rd, $603.52 on July 12th and $603.52 on

  August 9th] were paid, however, those amounts were paid in 2019 not 2018!




           12.      Now, with the benefit of hindsight and the time to correlate the forged records with

  real records, there are other signs the documents are forged. Some of those signs, in hindsight,

  seem obvious now. In the undersigned’s defense, the manner in which the statements were

  produced really belied any hint of fraud. Plaintiff simply handed over bank documents to the

  undersigned during the Friday January 31, 2020 mediation. The undersigned could not imagine a

  scenario where a Plaintiff in a Federal Court lawsuit would be bold and reckless enough to forge

  bank documents and then just hand them over to an adversary lawyer.

           13.      Here are some things that reveal Plaintiff’s forgery. First, Defendant always has

  payroll transfers occur on a Friday. The three dates that show payment from Defendant, May 3rd,

  July 12th and August 9th, are all Thursdays in 2018, but Fridays in 2019. Second the transfer code

  next to each direct deposit from Defendant, ****106163747KT, is a code particular to ADP, the

  Payroll company Defendant used in 2019. In 2018 Defendant used Quick Pay, and Quick Pay’s

  code is different.

           14.      The next thing clinches the fraud and is something that in hindsight is embarrassing

  that no one caught at the time.3 The itemized transactions prior to and after the direct deposit

  entries from Defendant have embedded authorization date codes for each and every transaction



  3 It is clear that Plaintiff’s counsel was not aware that these documents were fraudulent when they were produced at
  the mediation. After Defendant filed the original version of this motion, Plaintiff’s counsel confronted his client and
  she admitted that these documents were forged. When the Plaintiff then refused to dismiss this claim, Plaintiff’s
  counsel appropriately moved to withdraw as counsel for Plaintiff.
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  and those date codes show they occurred in 2019! Looking at the statement that purports to be

  Plaintiff’s August 2018 TD Bank statement, the top is clearly a real TD Bank statement for

  Plaintiff, with her correct account number that matches Defendant’s records:




  Plaintiff cut and pasted the following real TD Bank transactions from 2019 onto the foregoing real

  2018 statement top:




  When read together, the forged document appears to show numerous detailed transactions in 2018.

  The date on the far left next of each transaction does not contain a year, just a month and the day.

  However, as mentioned earlier, each transaction has an embedded authorization code that is

  clearly a date. Those authorization codes show these are 2019 transactions and not 2018

  transactions. Here are the entries before and after the August 9th direct deposit transfer from

  Defendant:
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          08/07    VISA TRANSFER, *****30029660453, AUT 080719 VISA TRANSFER                      50.00
                   P2P Y ANIELA CHARARAN VISA DIRECT * AZ

          08/09    ACH DEPOSIT, EL PARAISO MOTEL DJRECT DEP ****106163747KT                       603.52

          08/12    DEBIT CARD CREDIT, *****30029660453, AUT 081019 VISA DDA REF                   3.73
                   APL iTUNES COM BILL 866 712 7753 - * CA

          The August 7th transaction, a Visa bill payment of $50.00 for Plaintiff’s daughter, has an

  authorization code of 080719, which is clearly August 7, 2019. Next is the August 9th direct

  deposit from Defendant, El Paraiso Motel for $603.52. Then there is the August 12th transaction,

  an iTunes charge for $3.73, has an authorization code of 081019, which is clearly August 10, 2019.

  This means that the August 9th direct deposit from Defendant, El Paraiso Motel for $603.52, is for

  August 9, 2019, not August 9, 2018.

          15.      Of course, all doubt can be removed at an evidentiary hearing where a TD Bank

  records custodian appears with the real 2018 and real 2019 bank statements. Defendant requests

  such an evidentiary hearing even though it seems hard to imagine that Plaintiff would be willing to

  take the stand at such an evidentiary hearing and swear under oath that these statements are real.

          16.      This Court is empowered to set aside the Mediated Settlement Agreement4 under

  Federal Rule 60(b)(3) based on fraud. Federal Rule 60(b)(3) provides:

               (b) Grounds for Relief from a Final Judgment, Order,
          or Proceeding. On motion and just terms, the court may
          relieve a party or its legal representative from a final
          judgment, order, or proceeding for the following reasons:

                    (3) fraud (whether previously called intrinsic
          or extrinsic), misrepresentation, or misconduct by an
          opposing party.

          17.      The powers available to the Court under Rule 60(b) to void a settlement agreement

  procured by fraud are not limited to those set forth in Rule 60(b). Federal Rule 60(d)(3)

  specifically states that Rue 60(b) does not limit a court’s power to set aside a judgment for fraud on



  4 Defendant does not attach the Mediated Settlement Agreement but it can be provided to the Court.
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  the court. Federal Rule 60(d)(3) provides:

              (d) Other Powers to Grant Relief. This rule does not
         limit a court's power to:

                         (3) set aside a judgment for fraud on the court.

         18.     In Butler v. Yusem, 44 So.3d 102 (Fla. 2010), the Florida Supreme Court held there

  are four elements of fraud: (1) a false statement concerning a material fact; (2) the representor's

  knowledge that the representation is false; (3) an intention that the representation induce another to

  act on it; and (4) consequent injury by the party acting in reliance on the representation.

         Plaintiff forged the 3 TD Bank statements in an effort to show she worked dates and times

  that she did not work. Plaintiff knew the documents were false when she turned them over.

  Plaintiff knew that she was going to be paid nothing in this case absent her forged documents as

  she had no proof of an overtime violation (because none occurred). Plaintiff intended for

  Defendant to rely on the false documents and Defendant did rely on them to its detriment by

  entering into a Mediated Settlement Agreement.

         19.     The undersigned is not precluded from attaching the TD Bank documents [attached

  as Composite Exhibit A] which were provided to the undersigned by Plaintiff at mediation. Even

  though they were produced during the mediation, the Florida Mediation statute provides at least

  three grounds to allow the use of these documents. First, the documents are being used to commit

  a crime, that of fraud, see, Florida Statutes § 44.405(4)(a)2. Second, the documents can be used

  to establish the legally recognized ground for voiding the settlement, fraud in the inducement, see

  Florida Statutes § 44.405(4)(a)5. Lastly, these documents were otherwise discoverable (in fact,

  Defendant requested them and Plaintiff testified in deposition she had them), see Florida Statutes §

  44.405(5). The full text of the relevant cited sections is set forth below:

         Florida Statutes § 44.405
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          (1) Except as provided in this section, all mediation
          communications shall be confidential. A mediation
          participant shall not disclose a mediation communication
          to a person other than another mediation participant or
          a participant’s counsel.

          (4)(a) Notwithstanding subsections (1) and (2), there is
          no confidentiality or privilege attached to a signed
          written agreement reached during a mediation, unless the
          parties   agree   otherwise,  or   for   any   mediation
          communication:

               2. That is willfully used to plan a crime, commit or
          attempt to commit a crime, conceal ongoing criminal
          activity, or threaten violence;

               5. Offered for the limited purpose of establishing
          or refuting legally recognized grounds for voiding or
          reforming a settlement agreement reached during a
          mediation

          (5) Information that is otherwise admissible or subject
          to discovery does not become inadmissible or protected
          from discovery by reason of its disclosure or use in
          mediation.

                                        Good Faith Certification

          20.     Prior to filing this motion, the undersigned made a good faith effort to resolve the

   motion or narrow the issues addressed in the motion pursuant to Local Rule 7.1(a)(3). The Court

   entered its Order Denying Without Prejudice the Motion To Set Aside Mediated Settlement

   Agreement [DE 35] at approximately 3:28 p.m. on February 3, 2020. To paraphrase, the Court’s

   order said that the undersigned had not taken sufficient efforts to satisfy the Good Faith confer

   requirements of Local Rule 7.1(a)(3).

          Upon receiving the aforesaid order [DE 35] the undersigned immediately called counsel

   for the Plaintiff at Plaintiff’s counsel’s office number to discuss the motion and Plaintiff’s position

   thereto. The call went straight to voicemail.      The undersigned left a detailed message on the

   voicemail providing the undersigned’s office and cell phone numbers. The undersigned then
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   immediately sent Plaintiff’s counsel an e-mail on [3:44 p.m. February 3, 2020] that asked whether

   Plaintiff would agree to the Motion To Set Aside Mediated Settlement Agreement. In that e-mail,

   the undersigned again provided the undersigned’s office and cell numbers.

          This morning [8:21 a.m. February 4, 2020] the undersigned sent a follow up e-mail to

   counsel for Plaintiff indicating continued availability to discuss the matter with Plaintiff’s counsel

   and again provided the office and cell number of the undersigned. The e-mail to Plaintiff’s

   counsel indicated that if we were unable to connect by noon, the undersigned would be filing the

   motion at noon today. In response, Plaintiff’s counsel called the undersigned and the motion was

   discussed.

          During February 4th and 5th Plaintiff’s counsel and the undersigned communicated both by

   phone and e-mail. In summary, Plaintiff’s counsel confronted his client with the assertions of

   fraud and forgery and his client at first denied and then eventually admitted to the fraud.

   Plaintiff’s counsel sought permission from his client to dismiss the claims and his client eventually

   refused. Thereafter, Plaintiff’s counsel, on February 6, 2020 filed his Motion to Withdraw [DE

   36].

          The foregoing are all additional good faith efforts over and above those set forth in the

   original Motion To Set Aside Mediated Settlement Agreement [DE 31].

          WHEREFORE it is prayed that this Court conduct an evidentiary hearing to determine if

   there has been a fraud on the court that would justify setting aside the January 31, 2020 Mediated

   Settlement Agreement or if there was fraudulent inducement by Plaintiff that would justify setting

   aside the January 31, 2020 Mediated Settlement Agreement. If the Court finds fraud, the

   undersigned asks that the Court set aside the Mediated Settlement Agreement of January 31 2020

   and grant such other relief as warranted by Plaintiff’s conduct including but not limited to
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   dismissing Plaintiff’s claims with prejudice, assessing monetary sanctions against Plaintiff and

   referring Plaintiff to the State Attorney’s office for consideration of criminal prosecution for fraud,

   perjury and/or forgery.

                                    CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that this 7th day of February, 2020, a true and correct copy of the

   foregoing was electronically filed with the Clerk of the Court by using the CM/ECF system and we

   also certify that the foregoing document is being served this day either via transmission of Notice

   of Electronic Filing generated by CD/ECF or in some other authorized manner to: Zandro E.

   Palma, Esq., Zandro E. Palma, P.A., 9100 South Dadeland Boulevard, Suite 1500, Miami, FL

   33156, Pone 305−446−1500, Fax: 305−446−1502, E-service: zep@thepalmalawgroup.com.

   WEINSTEIN & COHEN, P.A.
   Counsel for Defendant GLOBAL RESORTS GROUP, CORP.
   Oaks Plaza - Suite 400
   14125 NW 80th Avenue
   Miami Lakes, Florida 33016
   Miami         (305) 374-1011
   Miami Fax     (305) 373-8127
   E-Service:    eservice@weinsteincohen.com

   By               /s/ Judson Cohen
          JUDSON L. COHEN
          Fla. Bar No.: 0948748
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                    Exhibit A
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                      America's Most Convenient Bank'"                                         '; I -\TFM ENT   or: :\CC< )I INT

        NANCY ANDREUS
                                                                                              Page:                                               3 of4
                                                                                              Statement   Period:            Apr 21 2018-May 20 2018
                                                                                              Cust Ref #:                      4346607538-650-T-###
                                                                                              Primary Account #:                                 753 8




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    TD Convenience                 Checking
    NANCY ANDREUS                                                                                                                             Account   #   7538



    .\C.:crn1N1     Sli\'IM.'\RY
    Beginning      Balance                                     207.45                                     Average   Collected     Balance                    -60.36
    Electronic     Deposits                                 3,129 89                                      Interest Earned     This Period                       0.00
                                                                                                          Interest Paid Year-to-Date                            0.00
    Checks     Paid                                            780.00                                     Annual Percentage        Yield Earned              0.00%
    Electronic    Payments                                  2,220.09                                      Days in Period                                           30
    Other Withdrawals                                          315.00
    Service    Charges                                           15 .00
    Ending Balance                                                 7.25




                                                                                Total for this Period           Total Year -to-Date
                                  Tota! Overdraft    Fees                                       $315.00                            $315 .00
                                  Totai Returned     Item Fees     (NSF)                           $0.00                              $0.00




    Elect~onic       Deposits
    POSTIN(, Ll.c\Ti·            DFSCRIPTlOI\'

    04/22                        ATM CASH DEPOSIT,    *****30029660453                                                                                       160.00
                                   AUT 042119 ATM CASH DEPOSIT
                                   1208 SW 8TH STREET        MIAMI                     * PA
   04/22                         ATM CASH DEPOSIT,     *****30029660453                                                                                        5.00
                                   AUT 042119 ATM CASH DEPOSIT
                                   l-200 SW 8TH STREET        MIAMI                    * PA

   04/25                         VISA TRANSFER., *****30029660453,   AUT 042519                         VISA TRANSFER
                                   SQC NANCY ANDREUS          VISA DIRECT  * CA
   04/29                         ATM CASH DEPOSIT,    *****30029660453                                                                                        32.00
                                   AUT 042819 ATM CASH DEPOSIT
                                   1208 SW 8TH STREET        MIAMI                     * PA
   05/03                         ACH   DEPOSIT,        EL PARAISO            MOTEL    DIRECT               ****505308797r~T                                 578.21
   05/06                         ATM CASH DEPOSIT,    *****30029660453                                                                                      500.00
                                   AUT 050419 ATM CASH DEPOSIT
                                   1208 SW 8TH STREET        MIAMI                     * PA
   05/13                         ATM CASH DEPOSIT,    *****30029660453                                                                                      100.00
                                   AUT 051319 ATM CASH 'DEPOSIT
                                   1208 SW 8TH STREET       MIAMI                      * PA
   05/13                         ATM CASH DEPOSIT,    *****30029660453                                                                                       80.00
                                   AUT 051319 ATM CASH DEPOSIT
                                   1208 SW 8TH STREET        MIAMI                     * PA
   05/13                         ATM CASH DEPOSIT, · *****3002966]453                                                                                       120.00
                                   AUT 051319 ATM CASH DEPOSIT
                                   1208 SW 8TH STREET      MIAMI                       * PA


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                      America's Most Convenient Bank'"                            7            .:; rATf-MFNT Uf· t\Ci_ili iNT




        NANCY ANDREUS                                                                          Page:                                              1 of5
        221 NW 7TH AVE APT 5                                                                   Statement   Period:         _Jun 21 2018-Jul 20 2018
        MIAMI FL 33128                                                                         Cust Ref #:                    4346607538-650-7-###
                                                                                               Primary Account #:                               7538




   TD Convenience                   Checking
   NANCY k\TDREUS                                                                                                                      Account   #        7538




    Electronic        Deposits         (continued)
    !'OS ilNG D\TI                 Dl;SCRf PTIU ~

    07/01                          DEBIT CARD CREDIT,  *****30029660453,                    AUT 070119        VISA DOA REF                                         6 06
                                     THE HOME DEPOT 0277      MIAMI                      * FL
    07/03                          ATM CASH DEPOSIT,     *****30029660453                                                                                  1,400.00
                                     AlJT 070319 ATM CASH DEPOSIT
                                     6601 S DIXIE HIGHWAY       MIAMI                  * NY
    07/05                          DEBIT CARD CREDIT,   *****30029660453,                  AUT 070419         VISA DOA REF                                         9.99
                                     APL ]TUNES COM BILL      866 712 7753                * CA
    07/05                          ATM CASH DEPOSIT,    *****30029660453                                                                                     100.00
                                     AUT 070419 ATM CASH DEPOSIT
                                     1208 SW 8TH STREET        MIAMI                   * P~,
    07/12                          ACH   DEPOSIT,        EL PARAISO      MOTEL        DJRECT       DEP    ****486333 l47KT                                  603.52
    07/l5                          ATM CASH DEPOSIT,    *****30029660453                                                                                    400.00
                                     AUT 071419 ATM CASH DEPOSIT
                                     1208 SW 8TH STREET        MIAMI                   * PA
    07/16                          DEBIT CARD CREDIT,  *****30029660453,                   AUT 071619         VISA ODA REF                                       68.26
                                     THE HOME DEPOT 0277      MIAMI                     * FL
    07/l7                          ATM CASH DEPOSIT,     *****30029660453                                                                                   360.00
                                     AliT 071719 ATM CASH DEPOSIT
                                     1208 SW 8TH STREET         MIAMI                 * PA
    07/18                          ATM CASH DEPOSIT,    *****30029660453                                                                                     100.00
                                     AUT 071819 ATM CASH DEPOSIT
                                     1208 SW 8TH STREET        MIAMI                  • PA

                                                                                                                                Subtotal:                 4,751.47
    Electronic        Payments
    iYl~TlNC ll,\Ti           !)J :c,r·1<1f'T!O,'-

    06/21                          DEBIT CARD PURCHASE,               *****30029660453,      AUT 062019            VISA DOA PUR                                  !000
                                     IDT BOSS INTL CALLING              800 6768312     * NJ
   06/24                           DEBIT POS, *****30029660453,     AUT 062219                  ODA PURCHASE                                                     I0.00
                                     WESTAR HIALEAH             HIALEAH     * FL
   06/26                           DEBIT CARD PAYMENT,  *****30029660453, AUT 062519                             VISA   ODA PUR                                  33.90
                                     COMCAST CABLE COMM       300 COMCAST   * FL
   06i26                           DEBIT CARD         PURCHASE,       *****30029660453,     AUT 062519             VISA DOA PUR                               22.52
                                     PRESIDJ;NT       SUPERMAR            MIAMI        * FL
   06127                           DEBIT CARD         PURCHASE,       *****30029660453,      AUT 062519            VISA DOA PUR                                  16.00
                                     MARATHON         PETROi 13340         MIAMI        * FL
   07/01                           DEBIT CARD PAYMENT,   *****30029660453,                     AUT 062819       VISA DOA PUR                                     19.95
                                     CRT CREDITREPAIR COM      800 2326499                     * UT
   07/01                           DEBIT CARD PURCHASE,               *****30029660453,          AUT 062919        VISA DOA PUR                             !00.00
                                     THE HOME DEPOT 277                 MIAMI        * FL
   07/01                           DEBIT CARD PURCHASE,               *****30029660453,       AUT 062919           VISA ODA PUR                                  I0.00
                                     IDT BOSS INTL CALLING              800 6768312     '' NJ
   07/01                           DEBIT CARD. PURCHASE,             *****30029660453,           AUT 062919       VISA ODA PUR                                16.80
                                     EL REY DE LAS FRITAS             MIAMI        ''FL




            !-.':00-937-2(.l!J()               r'or   <-hour    n~1nk-hy-l'ho·x
Case 1:19-cv-23993-RNS Document 38 Entered on FLSD Docket 02/07/2020 Page 16 of 16
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                                                                                                                                                 Page:
                                                                                                                                                                                 Jul 21 2018-Aug             20 2018
               NANCY ANDREUS                                                                                                                     Statement       Period:
                                                                                                                                                                                   4346607538-650-7-###
               2 21 NW 7TH AVE APT 5                                                                                                              Cust Ref #:
                                                                                                                                                                                                     7538
               MIAMI FL 33128                                                                                                                     Primary Account          #:




      TD        Convenience                          Checking
      NANCY A,.JDREIJS                                                                                                                                                                       Account           #            7538




     Electronic Deposits    ( continued)
     POSTING DATL        DLSCRIPTIOI'-"                                                                                                                                                                                    i\MOllNT

     07/30                                     DEBIT CARD CREDIT,   *****30029660453,                                                      AUT 073019            VISA DDA REF                                               100.00
                                                 MIAMI TOOL RENTAL 1      MIAMI                                                        * FL
     08/07                                     VlSA TRANSFER,  *****30029660453,    AUT 080719                                                               VISA TRANSFER                                                   50.00
                                                 P2P YANIELA CHARARAN        VISA DIRECT   * AZ

     08/09                                     ACH DEPOSIT,                              EL PARAISO                       MOTEL       DJRECT         DEP      ****106l63747KT                                              603.52
     08/12                                     DEBIT CARD CREDIT,   *****30029660453,     AUT 081019                                                             VISA DDA REF                                                 3.73
                                                 APL !TUNES COM BILL      866 712 7753 - * CA
     08/13                                     ATM CASH DEPOSIT,       *****30053325247                                                                                                                                      40.00
                                                 AUT 08 I 319 A TM CASH DEPOSIT
                                                 1208 SW 8TH STREET          MIAMI                                                     * PA
    08/14                                      ATM CASH DEPOSIT,    *****30053325247                                                                                                                                       400.00
                                                 AUT 081419 ATM CASH DEPOSIT
                                                 1208 SW 8TH STREET       MIAMI                                                       * PA
    08/14                                      ATM CASH DEPOSIT,    *****30053325247                                                                                                                                       100.00
                                                 AUT 081419 ATM CASH DEPOSrt
                                                 1208 SW 8TH STREET       MIAMI                                                       * PA
    08/15                                     VISA TRANSFER,  *****30053325247,    AUT 081519                                                                VISA TRANSFER                                                 250.00
                                                P2P YANIELA CHARARAN        VISA DIRECT   * AZ
    08/20                                     ATM CASH DEPOSIT,    *****30053325247                                                                                                                                         25.00
                                                AUT 081919 ATM CASH DEPOSIT
                                                1208 SW 8TH STREET        MIAMI                                                       * PA
    08/20                                     ATM CASH DEPOSIT,    *****30053325247                                                                                                                                         20.00
                                                AUT 081919 ATM CASH DEPOSIT
                                                1208 SW 8TH STREET        MIAMI                                                       * PA
    08/20                                     ATM CASH DEPOSIT,    *****30053325247                                                                                                                                        100.00
                                                AUT 082019 ATM CASH DEPOSIT
                                                1208 SW 8TH STREET        MIAMI                                                       • PA

                                                                                                                                                                Subtotal:                     4,270.45
    Checks              Paid               No. Checks: 2                              *Indicatesbreak in serial sequence or check processed electronicallyand listed under ElectronicPayrnents
    L) / ., ri~                          ~H{IJ\l N(J_                                                   -·\MOU l\l

   07/31                                  147                                                             800.00

   08/09                                 149*                                                        3,200.00

                                                                                                                                                                                Subtotal:                               4,000.00
   Electronic Payrn ents
   POSTING DAIT         DE~CRWT!Ol\

   07/22                                     DEBIT CARD PURCHASE,                                                   *****30029660453, AUT 071919                      VISA DDA PUR                                          33.74
                                               ZIBBY WIRELESS MIAMI                                                   833 449 4229 *NY
   07/22                                     DEBIT CARD PURCHASE,                                                   *****30029660453;       AUT 071919                VISA DDA PUR                                          10.00
                                               IDT BOSS INTL CALLING                                                  800 6768312     ,, NJ

   07/22                                     DEBIT CARD PURCHASE,   *****30029660453,                                                             AUT 072019          VISA DDA PUR                                          10.40
                                               UBER  TRIP       HELP UBER COM * CA
   07/22                                     DEBIT CARD PURCHASE,   *****30029660453,                                                             AUT 072019          VISA DDA PUR                                           9.73
                                               UBER  TRIP       HELP UBER COM *CA


   Call           1-80!_l-937-2UOO                                  t,1r      2-Lhour                     Bank-by- Pho:1c                     S=.~i 'kL'~;            crirn-          to               ldbank t.:<•in
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   R.:111kr),"' r,n,~:1.::Fllir'111 <.: 1trt->, Ii Tnf::,n,l· :,r    .'\ 1 1:, ., •-.il l-1,-,, ,.-~nnl ,,.,.,-1,·,.- ~
